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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:01CR3105
                                          )
                   Plaintiff,             )
                                          )
      vs.                                 )
                                          )          ORDER
MIA J. LEWIS,                             )
                                          )
                   Defendant.             )


      On the court’s own motion, and in order to accommodate a change in the
undersigned’s schedule,

      IT IS ORDERED that the defendant’s revocation hearing is continued to Wednesday,
August 1, 2007, at 1:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, Robert V. Denney Federal Building and U.S. Courthouse, Lincoln,
Nebraska. The defendant shall be present unless excused by the court.

      May 30, 2007.                    BY THE COURT:

                                       s/ Richard G. Kopf
                                       United States District Judge
